                Case 1:07-cr-00192-AWI Document 387 Filed 07/12/11 Page 1 of 1
                          UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )             Case No.     1:07-cr-00192-AWI
                              )
     vs.                      )             ORDER OF DETENTION FOLLOWING
                              )             REVOCATION OF PREVIOUSLY SET
JONATHAN M. CHAPMAN,          )             CONDITIONS OF RELEASE
                              )
               Defendant.     )
______________________________)

A.       Order for Revocation and Detention

         After conducting a hearing pursuant to 18 U.S.C. § 3148(b) on the government's
         motion for revocation of the previous order for release, the Court orders the
         previous conditions of pretrial release revoked and this defendant detained.

B.       Statement of Reasons for the Revocation and Detention

         The Court orders the revocation of pretrial release conditions and the
         defendant's detention because it finds:

               (1)    There is probable cause to believe this defendant has committed
                      a Federal, State, or local crime while on release.

                                              or

          X    (2)    There is clear and convincing evidence that this defendant has
                      violated a condition or conditions of release.

                                              and

               (3)    That based on the factors set forth in § 3142(g), there is no
                      condition or combination of conditions of release that will assure
                      that this defendant will not flee or pose a danger to the safety of
                      any other person or the community; or,

          X    (4)    That this defendant is unlikely to abide by any condition or
                      combination of conditions of release.

               (5)    That this defendant has not rebutted the rebuttable presumption
                      contained in 18 U.S.C. § 3148(b) that no condition or combination
                      of conditions will assure that the person will not pose a danger
                      to the safety of any other person or the community based upon the
                      existence of probable cause to believe that, while on release, the
                      defendant committed a Federal, State, or local felony.

IT IS SO ORDERED.

Dated:    July 11, 2011                /s/ Sandra M. Snyder
                                      UNITED STATES MAGISTRATE JUDGE
